     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3582 Page 1 of 8



1      Sharre Lotfollahi (SB 258913)        David A. Perlson (Ca. Bar No. 209502)
       sharre.lotfollahi@kirkland.com       davidperlson@quinnemanuel.com
2      Benjamin Yaghoubian (SB 292318)      QUINN EMANUEL URQUHART &
3      benjamin.yaghoubian@kirkland.com     SULLIVAN, LLP
       KIRKLAND & ELLIS LLP                 50 California Street, 22nd Floor
4      2049 Century Park East, Suite 3700   San Francisco, California 94111-4788
       Los Angeles, CA 90067                Telephone: (415) 875-6600
5      310-552-4200                         Facsimile: (415) 875-6700
6
       Garret A. Leach (pro hac vice)       David A. Nelson (Ill. Bar No. 6209623)
7      garret.leach@kirkland.com            davenelson@quinnemanuel.com
       Megan M. New (pro hac vice)          QUINN EMANUEL URQUHART &
8      megan.new@kirkland.com               SULLIVAN, LLP
       Nikhil Krishnan (SB 300616)          191 N. Wacker Drive Suite 2700
9      Nikhil.krishnan@kirkland.com         Chicago, IL 60606
10     Kyle M. Kantarek (pro hac vice)      Telephone: (312) 705-7400
       kyle.kantarek@kirkland.com           Facsimile: (312) 705-7401
11     KIRKLAND & ELLIS LLP
       300 North LaSalle                    Attorneys for Defendant,
12     Chicago, IL 60654                    GOOGLE LLC
13     312-862-2000

14     Attorneys for Plaintiff
       IMPACT ENGINE, INC.
15
                                UNITED STATES DISTRICT COURT
16
                               SOUTHERN DISTRICT OF CALIFORNIA
17
18
      IMPACT ENGINE, INC.,                      CASE NO. 3:19-cv-01301-CAB-DEB
19
                  Plaintiff,
20                                              [UNDER SEAL] JOINT MOTION
            vs.
21                                              FOR DETERMINATION OF
      GOOGLE LLC,                               DISCOVERY DISPUTE
22
                  Defendant.                    Hearing Date:
23                                              Time:
                                                Judge: Hon. Daniel E. Butcher
24                                              Courtroom:
25
26
27
28

      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE    Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3583 Page 2 of 8



1                             REQUEST FOR PRODUCTION NO. 601
2     I.      GOOGLE’S REQUEST AND IMPACT ENGINE’S RESPONSE
3             Google’s Request for Production No. 60: All Documents Regarding any contracts
4     or agreements between Plaintiff and any Third Party concerning (1) This Litigation and/or
5     (2) any Asserted Patent or Related Patent.
6             Impact Engine’s Response Request for Production No. 60:
7             In addition to its general objections, Impact Engine objects to this Request as vague,
8     overbroad, and unduly burdensome as to “all Documents” and “Plaintiff.” Impact Engine
9     further objects to this Request as not proportional to the needs of this case in seeking all
10    Documents concerning Related Patents considering (1) the marginal importance of the
11    materials to the claims and defenses in this litigation and (2) the burden or expense of the
12    proposed discovery balanced against its likely benefit. Impact Engine also objects to this
13    Request as overbroad and unduly burdensome in requesting documents not within Impact
14    Engine’s possession, custody, or control. Impact Engine further objects to this Request as
15    calling for information irrelevant to any claim or defense and thus not proportional to the
16    needs of this case. Impact Engine also objects to this Request as requesting information or
17    documents protected from discovery by the attorney-client privilege, the work-product
18    immunity doctrine, or other applicable privilege.
19            Impact Engine’s Agreement Regarding Request for Production No. 60:
20            To the extent that relevant, responsive, non-privileged documents exist, and subject
21    to our ongoing objection regarding production of any potential agreements related to
22    litigation funding, we will produce documents responsive to RFP No. 60.
23
24
25
26
27
      1
           The parties have resolved their dispute as to Impact Engine’s response to Google’s
28         Interrogatory No. 3, and thus do not present that dispute herein.
                                                     2
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE         Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3584 Page 3 of 8



1     II.   GOOGLE’S ARGUMENT TO COMPEL DOCUMENT PRODUCTION
2           Google seeks an order compelling Impact Engine to produce contracts or agreements
3     relating to litigation funding as well as documents relating to such contracts or agreements.
4     The litigation funding agreements are relevant because they will undermine one of Impact
5     Engine’s themes expressed in its Complaint. This is true even if the agreements themselves
6     to not discuss the substantive issues in the litigation. As shown in the Complaint, Impact
7     Engine will likely argue to the jury that it was harmed by Google’s alleged infringement,
8     and give the impression that a damages award will make Impact Engine whole and go to
9     Impact Engine and its employees. (See e.g., Dkt. 53, ¶¶ 5, 13, 28, 32, 33). For example,
10    in its Complaint, Impact Engine alleges: “Google’s actions left the dedicated and hard-
11    working employees of Impact Engine with no options other than litigation.” (Dkt. 53, ¶ 5;
12    see also id.) Yet, Impact Engine admits there is a litigation funder. The jury deserves to
13    know that, if Impact Engine focuses on the harm to its business and employees in a plea to
14    the jury’s emotions, any damages awarded would not solely go to Impact Engine. That
15    Impact Engine is characterizing this as a competitor case and seeking lost profits increases
16    the potential for jury confusion by this narrative without the full information. Google asked
17    Impact Engine to commit to not making the arguments discussed above at trial in exchange
18    for dropping its request for agreements and documents regarding its litigation funding, but
19    Impact Engine would not do so, and still refuses to do so in its argument below.
20          Documents and communications regarding these agreements will likely also be
21    relevant to other issues in the case. Communications with litigation funders or potential
22    litigation funders are likely to include discussion of the case, including assessments of the
23    strengths or weaknesses in Impact Engine’s positions on liability, validity, and damages.
24    Impact Engine never disputed such communications might exist and now concedes that
25    there is at least one such communication. This document, which Impact Engine says was
26    prepared by Impact Engine and its counsel, would be a party admission, as would any
27    similar documents Impact Engine later identifies. Other courts have found such documents,
28    which indisputably relate to subject matter at issue in this case, to be relevant. Acceleration

                                                    3
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE          Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3585 Page 4 of 8



1     Bay LLC v. Activision Blizzard, Inc., No. 16-cv-453, 2018 WL 798731, at *3 (D. Del. Feb.
2     9, 2018) (communications with prospective litigation funder are relevant); Odyssey
3     Wireless, Inc. v. Samsung Elec. Co. Ltd, 2016 WL 7665898, at *7 (S.D. Cal. Sept. 20,
4     2016) (communications with litigation funders regarding the value of the patents-in-suit
5     were relevant to damages); Cobra Int’l Inc. v. BCNY Int’l Inc., 2013 WL 11311345 (S.D.
6     Fla. Nov. 4, 2013) (litigation funding agreement was relevant and not privileged).
7             Impact Engine has not articulated a legitimate burden in collecting these materials.
8     Google offered that Impact Engine does not need to specifically search for responsive email
9     communications, but can produce or include on a privilege log documents located in ESI
10    searches. Instead, Impact Engine contends that it should not be required to produce any
11    responsive documents it identifies, much less search for them, because they are
12    categorically irrelevant. Of course, this is contradicted by its admission that at least one
13    document it identified concerns this litigation. Impact Engine points to United Access
14    Tech., LLC v. AT&T Corp., No. 11-338-LPs, 2020 WL 3128269, at *2 (D. Del. June 12,
15    2020) as finding litigation funding documents to be not relevant, and as not following
16    Acceleration Bay. But in United Access the Court conducted an in camera review and
17    determined that the documents did not contain relevant information. Here, Impact Engine
18    admits at least one document it and its counsel prepared that discusses the merits of the
19    case.
20            If Impact Engine contends responsive documents are privileged, it can include them
21    on a privilege log. But, not all responsive documents will be privileged or work product.
22    For example, communications with prospective litigation funders would not be privileged.
23    Yet, Impact Engine refuses to log them at all, acting as though they do not exist, even
24    though it admits at least one responsive document does exist. Google seeks an order
25    compelling Impact Engine to include any such responsive documents on a privilege log so
26    that Google can assess Impact Engine’s objections.
27
28

                                                    4
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE        Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3586 Page 5 of 8



1     III.   IMPACT ENGINE’S RESPONSE
2            In support of its position that Impact Engine should be compelled to produce
3     “contracts or agreements relating to litigation funding as well as documents relating to such
4     contracts or agreements,” Google makes two arguments, both of which are without merit.2
5     First, Google sets up the straw man argument that it needs litigation funding agreements to
6     undermine or refute Impact Engine’s purported trial theme—that it has been harmed by
7     Google’s infringement and should be awarded damages to be made whole—so it can show
8     that the entire damages award will not go to Impact Engine. This argument, however,
9     ignores that under the Patent Act, Impact Engine is entitled to damages if it proves
10    infringement. 35 U.S.C. § 284 (“the court shall award the claimant damages”) (emphasis
11    added). The existence of a litigation funding agreement will not change that fact. Indeed,
12    it is both improper and prejudicial for Google to try to undermine Impact Engine’s statutory
13    entitlement to damages for Google’s willful infringement by arguing that at least part of
14    any damages award may go to a litigation funder. Other courts that have considered this
15    same argument, including the Eastern District of Texas, agree.3 At bottom, Google’s
16    argument that “[t]he jury deserves to know that . . . any damages awarded would not solely
17    go to Impact Engine,” is nonsensical and would create a sideshow of irrelevant issues.
18           Second, Google argues the documents it seeks are relevant because they “are likely
19    to include discussion of the case, including assessments of the strengths or weaknesses in
20
      2
          While Impact Engine focuses its arguments here on relevance, it also maintains that the
21        documents sought are protected from disclosure under the attorney work product
22        doctrine, a position Google does not appear to dispute. See, e.g., Miller UK Ltd. v.
          Caterpillar, Inc., 17 F. Supp. 3d 711, 734-35 (N.D. Ill. 2014) (documents prepared for
23        prospective third-party funder were protected by the attorney work product doctrine);
          Viamedia, Inc. v. Comcast Corp., No. 16-CV-5486, 2017 WL 2834535, at *3 (N.D. Ill.
24        June 30, 2017) (same).
25    3
          See, e.g., SSL Servs., LLC v. Citrix Sys., Inc., No. 2:08-cv-158-JRG, 2012 WL
26        12906091, at *1 (E.D. Tex. May 24, 2012) (precluding any reference to investors in the
          litigation, litigation financing, or attorney’s fee arrangements); Eidos Display, LLC v.
27        Chi Mei Innolux Corp., No. 6:11-CV-00201-JRG, 2017 WL 2773944, at *1 (E.D. Tex.
          May 26, 2017) (same).
28

                                                   5
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE        Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3587 Page 6 of 8



1     Impact Engine’s positions on liability, validity, and damages.”              Google relies on
2     Acceleration Bay LLC v. Activision Blizzard, Inc., No. 16-cv-453, 2018 WL 798731, at *3
3     (D. Del. Feb. 9, 2018) for this proposition. But the exact same arguments made by the
4     defendant in that case—and that Google makes here—were recently rejected in UAT, LLC
5     v. AT&T Corp., where Chief Judge Stark in the District of Delaware ruled that the
6     defendant “fail[ed] to articulate how [documents related to litigation funding] are relevant
7     to the specific claims or defenses of this case.” C.A. No. 11-338-LPS, 2020 WL 3128269,
8     at *1–*2 (D. Del. June 12, 2020) (“Acceleration Bay does not hold (as no case could) that
9     such materials are always relevant”). Google has similarly failed to do so here. Moreover,
10    the decision in UAT is consistent with the decisions of other courts around the country that
11    have held that documents related to litigation funding are not relevant. See, e.g., In re
12    Valsartan N-Nitrosodimethylamine (NDMA) Contam. Prod. Liab. Lit., 405 F. Supp. 3d
13    612, 615 (D.N.J. 2019) (collecting cases and agreeing “with the plethora of authority that
14    holds that discovery directed to a plaintiff’s litigation funding is irrelevant”).4
15           Nevertheless, Impact Engine has collected and reviewed the documents Google
16    seeks. Impact Engine does not possess any litigation funding agreements, documents or
17    communications that include a “discussion of the case, including assessments of the
18    strengths or weaknesses in Impact Engine’s positions on liability, validity, and damages,”
19    other than one privileged document prepared by Impact Engine and its counsel.
20    (Declaration of Megan M. New at ¶¶ 2-4.) As set forth above, however, that document is
21    not relevant because it relates to litigation funding. In re Valsartan, 405 F. Supp. 3d at
22    615. Google’s motion to compel should be denied.
23
      4
          See also Miller UK, 17 F. Supp. 3d at 724 (finding the deal documents relevant only to
24        arguments without “any cogency”); Space Data Corp. v. Google LLC, No. 16-cv-
25        02360, 2018 WL 3054797 (N.D. Cal. June 11, 2018) (denying defendant’s motion to
          compel production of documents and communications about potential litigation funding
26        as irrelevant); Telesocial Inc. v. Orange S.A., No. 3:14-cv-03985, Dkt. 165 (N.D. Cal.
          Sept. 30, 2016) (same); Kaplan v. S.A.C. Capital Advisors, L.P., No. 12-CV-9350 VM
27        KNF, 2015 WL 5730101, at *5 (S.D.N.Y. Sept. 10, 2015), aff’d, 141 F. Supp. 3d 246
          (S.D.N.Y. 2015) (same).
28

                                                     6
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE          Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3588 Page 7 of 8



1     DATED: July 15, 2020                    Respectfully submitted,
2                                             KIRKLAND & ELLIS LLP
3                                             By: /s/ Garret A. Leach
                                                  Garret A. Leach
4
5                                              Attorneys for Plaintiff
                                               IMPACT ENGINE, INC.
6
7
8     DATED: July 15, 2020                    QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
9
                                              By: /s/ David A. Perlson
10                                                David A. Perlson
11
                                               Attorneys for Defendant
12                                             GOOGLE LLC.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                7
      JOINT MOTION FOR DETERMINATION OF DISCOVERY DISPUTE    Case No. 3:19-cv-01301-CAB-DEB
     Case 3:19-cv-01301-CAB-DEB Document 102 Filed 08/20/20 PageID.3589 Page 8 of 8



1                                  CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true copy of the foregoing document has been
3      served on July 15, 2020 to all counsel of record who are deemed to have consented to
4      electronic service via the Court’s CM/ECF system per Civil Local Rule 5.4. Any other
5      counsel of record will be served by electronic mail, facsimile, and/or overnight delivery.
6
7      DATED: July 15, 2020                        KIRKLAND & ELLIS LLP
8
9                                                     By: /s/ Garret A. Leach
                                                          Garret A. Leach
10
11                                                    Attorneys for Plaintiff
                                                      IMPACT ENGINE, INC.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


       CERTIFICATE OF SERVICE                                     Case No. 3:19-cv-01301-CAB-DEB
